      Case 2:20-cr-00634-DWL Document 104 Filed 11/10/22 Page 1 of 2




     JON M. SANDS
 1   Federal Public Defender
     District of Arizona
 2   850 W. Adams, Suite 201
     Phoenix, Arizona 85007
 3   Telephone: 602-382-2700
 4   JANE MCCLELLAN
     MARK RUMOLD
 5   Cal. Bar # 279060
     Asst. Federal Public Defender
 6   Attorney for Defendant
     mark_rumold@fd.org
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                               DISTRICT OF ARIZONA
10
                                                   No. CR-20-00634-PHX-DWL
11
     United States of America,                   MOTION TO CONTINUE CIPA
12                                                 SECTION 2 PRETRIAL
                  Plaintiff,                          CONFERENCE
13         vs.                                              (First Request)
14   Jill Marie Jones,
15                                                     Trial set April 11, 2023
                  Defendant.
16
17         Defendant Jill Marie Jones, through undersigned counsel, respectfully
18   requests this Court continue the CIPA Section 2 Pretrial Conference, currently set
19   for November 15, 2022 at 3:00 pm.
20         Counsel for Ms. Jones will out-of-state on prearranged travel—for work and,
21   subsequently, the Thanksgiving holiday— from November 14 - November 25,
22   2022. Counsel respectfully requests the pretrial conference be rescheduled anytime
23   on or after November 28, 2022.
24         Defense counsel contacted Assistant United States Attorney David Pimsner,
25   who advised that the United States has no objection.
26
     …
27
     …
28
     Case 2:20-cr-00634-DWL Document 104 Filed 11/10/22 Page 2 of 2




 1       Excludable delay will not occur as a result of this motion.
 2             Respectfully submitted: November 10, 2022
 3                                       JON M. SANDS
 4                                       Federal Public Defender
 5
                                         s/Mark Rumold
 6                                       MARK RUMOLD
 7                                       Asst. Federal Public Defender
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         2
